Case 1:19-cr-20424-CMA Document 101 Entered on FLSD Docket 03/11/2022 Page 1 of 7
             USCA11 Case: 20-10704 Date Filed: 03/11/2022 Page: 1 of 1


                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

  David J. Smith                                                                      For rules and forms visit
  Clerk of Court                                                                      www.ca11.uscourts.gov


                                           March 11, 2022
                                                                                              AP
   Clerk - Southern District of Florida
   U.S. District Court                                                          Mar 11, 2022
   400 N MIAMI AVE
   MIAMI, FL 33128-1810
                                                                                                   MIAMI
   Appeal Number: 20-10704-GG
   Case Style: USA v. Daniel Griffin
   District Court Docket No: 1:19-cr-20424-CMA-1

   A copy of this letter, and the judgment form if noted above, but not a copy of the court's
   decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
   was previously forwarded to counsel and pro se parties on the date it was issued.

   The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
   was previously provided on the date of issuance.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Lois Tunstall
   Phone #: (404) 335-6191

   Enclosure(s)
                                                                       MDT-1 Letter Issuing Mandate
Case 1:19-cr-20424-CMA Document 101 Entered on FLSD Docket 03/11/2022 Page 2 of 7
             USCA11 Case: 20-10704 Date Filed: 03/11/2022 Page: 1 of 2




                                            In the
                       United States Court of Appeals
                                 For the Eleventh Circuit
                                   ____________________

                                         No. 20-10704
                                   ____________________

             UNITED STATES OF AMERICA,
                                                              Plaintiff-Appellee,
             versus
             DANIEL GRIFFIN,


                                                           Defendant-Appellant.


                                   ____________________

                          Appeal from the United States District Court
                              for the Southern District of Florida
                            D.C. Docket No. 1:19-cr-20424-CMA-1
                                   ____________________

                                         JUDGMENT




  ISSUED AS MANDATE 03/11/2022
Case 1:19-cr-20424-CMA Document 101 Entered on FLSD Docket 03/11/2022 Page 3 of 7
             USCA11 Case: 20-10704 Date Filed: 03/11/2022 Page: 2 of 2




             It is hereby ordered, adjudged, and decreed that the opinion is-
             sued on this date in this appeal is entered as the judgment of this
             Court.
                                   Entered: February 10, 2022
                          For the Court: DAVID J. SMITH, Clerk of Court




  ISSUED AS MANDATE 03/11/2022
Case 1:19-cr-20424-CMA Document 101 Entered on FLSD Docket 03/11/2022 Page 4 of 7
             USCA11 Case: 20-10704 Date Filed: 02/10/2022 Page: 1 of 2




                                                   [DO NOT PUBLISH]
                                       In the
                    United States Court of Appeals
                            For the Eleventh Circuit

                              ____________________

                                    No. 20-10704
                              Non-Argument Calendar
                              ____________________

           UNITED STATES OF AMERICA,
                                                         Plaintiff-Appellee,
           versus
           DANIEL GRIFFIN,


                                                      Defendant-Appellant.


                              ____________________

                     Appeal from the United States District Court
                         for the Southern District of Florida
                       D.C. Docket No. 1:19-cr-20424-CMA-1
                              ____________________
Case 1:19-cr-20424-CMA Document 101 Entered on FLSD Docket 03/11/2022 Page 5 of 7
             USCA11 Case: 20-10704 Date Filed: 02/10/2022 Page: 2 of 2




           2                      Opinion of the Court               20-10704


           Before WILSON, BRANCH, and BLACK, Circuit Judges.
           PER CURIAM:
                  Khurrum B. Wahid, appointed counsel for Daniel Griffin in
           this direct criminal appeal, has moved to withdraw from further
           representation of the appellant and filed a brief pursuant to An-
           ders v. California, 386 U.S. 738 (1967). Our independent review
           of the entire record reveals that counsel’s assessment of the rela-
           tive merit of the appeal is correct. Because independent examina-
           tion of the entire record reveals no arguable issues of merit, coun-
           sel’s motion to withdraw is GRANTED, and Griffin’s conviction
           and sentence are AFFIRMED.
Case 1:19-cr-20424-CMA Document 101 Entered on FLSD Docket 03/11/2022 Page 6 of 7
             USCA11 Case: 20-10704 Date Filed: 02/10/2022 Page: 1 of 2


                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT
                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                              56 Forsyth Street, N.W.
                                              Atlanta, Georgia 30303

  David J. Smith                                                                        For rules and forms visit
  Clerk of Court                                                                        www.ca11.uscourts.gov


                                           February 10, 2022

   MEMORANDUM TO COUNSEL OR PARTIES

   Appeal Number: 20-10704-GG
   Case Style: USA v. Daniel Griffin
   District Court Docket No: 1:19-cr-20424-CMA-1

   Electronic Filing
   All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
   unless exempted for good cause. Non-incarcerated pro se parties are permitted to use the ECF
   system by registering for an account at www.pacer.gov. Information and training materials
   related to electronic filing are available on the Court's website. Enclosed is a copy of the court's
   decision filed today in this appeal. Judgment has this day been entered pursuant to FRAP 36.
   The court's mandate will issue at a later date in accordance with FRAP 41(b).

   The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for
   filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
   provided by FRAP 25(a) for inmate filings, a petition for rehearing or for rehearing en banc is
   timely only if received in the clerk's office within the time specified in the rules. Costs are
   governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for
   attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

   Please note that a petition for rehearing en banc must include in the Certificate of Interested
   Persons a complete list of all persons and entities listed on all certificates previously filed by
   any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be
   reheard must be included in any petition for rehearing or petition for rehearing en banc. See
   11th Cir. R. 35-5(k) and 40-1 .

   Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
   compensation for time spent on the appeal no later than 60 days after either issuance of mandate
   or filing with the U.S. Supreme Court of a petition for writ of certiorari (whichever is later) via
   the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
   cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
   system.

   For questions concerning the issuance of the decision of this court, please call the number
   referenced in the signature block below. For all other questions, please call Joseph Caruso, GG
Case 1:19-cr-20424-CMA Document 101 Entered on FLSD Docket 03/11/2022 Page 7 of 7
             USCA11 Case: 20-10704 Date Filed: 02/10/2022 Page: 2 of 2



   at (404) 335-6177.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Jeff R. Patch
   Phone #: 404-335-6151

                                                  OPIN-1 Ntc of Issuance of Opinion
